      Case 14-40996                 Doc 64        Filed 04/25/16 Entered 04/27/16 23:36:33                   Desc Imaged
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Information to identify the case:
Debtor 1              Faisal Saeed Quadri                                         Social Security number or ITIN   xxx−xx−2761
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
(Spouse, if filing)   First Name   Middle Name   Last Name
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 14−40996




Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Faisal Saeed Quadri
           aka Faisal Quadri, aka Faisal S. Quadri

           April 25, 2016                                                 For the court: Jeffrey P. Allsteadt, Clerk
                                                                                         United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.
However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who
                                                           is also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 14-40996-DRC
Faisal Saeed Quadri                                                                                        Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: dwilliams                    Page 1 of 2                          Date Rcvd: Apr 25, 2016
                                      Form ID: 318                       Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 27, 2016.
db             +Faisal Saeed Quadri,    6515 Pinehollow Road,    Carpentersville, IL 60110-3407
22626935       +Citibank/The Home Depot,    Citicorp Credit Srvs/Centralized Bankrup,     Po Box 790040,
                 Saint Louis, MO 63179-0040
22626936       +Eos Cca,   Po Box 981008,    Boston, MA 02298-1008
22626937        Equifax Information Services, LLC,    1550 Peachtree Street NW,     Atlanta, GA 30309
22626938       +Experian Information Solutions, Inc.,     475 Anton Boulevard,    Costa Mesa, CA 92626-7037
22626941       +Pierce & Associates,    1 North Dearborn,    Ste 1300,   Chicago, IL 60602-4373
22626942       +Seterus Inc,   14523 Sw Millikan Way St,     Beaverton, OR 97005-2352
22626944       +Stanisccontr,    914 14th Street,   Modesto, CA 95354-1011
22626945       +The Kimball Farms Master Association,     c/o Robert P. Nesbit,    750 Lake Cook Road, Suite 350,
                 Buffalo Grove, IL 60089-2088
22626946       +Think Federal Credit Union,    5200 Members Pkwy NW,    Rochester, MN 55901-8381
22626947       +Think Mutual Bank,    s/b/m to Think Federal Credit Union,     5200 Members Parkway NW,
                 Rochester, MN 55901-8381
22706145       +Think Mutual Bank,    P O Box 7194,   Rochester, MN 55903-7194
22626948       +Trans Union LLC,    1561 E. Orangethorpe Avenue,    Fullerton, CA 92831-5210

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QECBERG.COM Apr 26 2016 01:09:00      Elizabeth C Berg,    Baldi Berg, Ltd.,
                 20 N. Clark Street,    Suite 200,   Chicago, IL 60602-4120
22626929       +EDI: AFNIRECOVERY.COM Apr 26 2016 01:08:00      Afni,   P.O. Box 3517,
                 Bloomington, IL 61702-3517
22626930       +EDI: AFNIRECOVERY.COM Apr 26 2016 01:08:00      Afni, Inc.,    Attention: Bankruptcy,
                 1310 Martin Luther King Dr,    Bloomington, IL 61701-1465
22626932       +EDI: AFNIRECOVERY.COM Apr 26 2016 01:08:00      Afni, Inc.,    1310 MLK Drive,    P.O. Box 3517,
                 Bloomington, IL 61702-3517
22626931       +EDI: AFNIRECOVERY.COM Apr 26 2016 01:08:00      Afni, Inc.,    404 Brock Drive,
                 Bloomington, IL 61701-2654
22626933       +EDI: BANKAMER2.COM Apr 26 2016 01:08:00      Bank Of America, N.A. *,     401 N. Tryon Street,
                 NC1-021-02-20,   Charlotte, NC 28255-0001
22626934       +E-mail/Text: contact@csicollects.com Apr 26 2016 01:41:43       Certified Services Inc,
                 1733 Washington Street, Suite 2,    Waukegan, IL 60085-5192
23653320        EDI: IRS.COM Apr 26 2016 01:08:00      IRS Department of Treasury,    ACS Support - Stop 5050,
                 PO Box 219236,   Kansas City, MO 64121
22626939       +E-mail/Text: ISAC.Bankruptcy@ISAC.illinois.gov Apr 26 2016 01:38:25
                 Illinois Student Assistance Commission,    1755 Lake Cook Road,    Deerfield, IL 60015-5209
22626940       +E-mail/Text: mmrgbk@miramedrg.com Apr 26 2016 01:39:49       Pellettieri,    991 Oak Creek Dr,
                 Lombard, IL 60148-6408
22735685       +E-mail/Text: sdemars@rjh-law.com Apr 26 2016 01:39:22       SHERMAN HOSPITAL,
                 C/0 RONALD J. HENNINGS P.C.,    P.O BOX 4106,   ST. CHARLES, IL 60174-9080
22626943       +EDI: SWCR.COM Apr 26 2016 01:09:00      Southwest Credit Syste,
                 4120 International Parkway Suite 1100,    Carrollton, TX 75007-1958
22626943       +E-mail/Text: bankruptcy@sw-credit.com Apr 26 2016 01:39:47       Southwest Credit Syste,
                 4120 International Parkway Suite 1100,    Carrollton, TX 75007-1958
                                                                                               TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 27, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                              Form ID: 318                Total Noticed: 25


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 25, 2016 at the address(es) listed below:
              Charles L. Magerski    on behalf of Debtor 1 Faisal Saeed Quadri Cmagerski@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.com;mbadwan@sulaimanlaw.co
               m;sulaiman.igotnotices@gmail.com;bkecf_sulaiman@bkexpress.info
              Elizabeth C Berg    bergtrustee@baldiberg.com, eberg@ecf.epiqsystems.com,jmanola@baldiberg.com
              Kinnera Bhoopal     on behalf of Creditor   Seterus, Inc. as the authorized subservicer for
               Federal National Mortgage Association ("Fannie Mae") Creditor c/o Seterus, Inc
               kinnera.bhoopal@pierceservices.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Paul M Bach   on behalf of Debtor 1 Faisal Saeed Quadri ecfbach@gmail.com,
               ECFNotice@sulaimanlaw.com;Courtinfo@Sulaimanlaw.com;bkycourtinfo@gmail.com;Paul@BachOffices.com;m
               badwan@sulaimanlaw.com;bkycourtinfo@gmail.com;sulaiman.igotnotices@gmail.com;bkecf_sulaiman@bkexp
               ress.info
                                                                                             TOTAL: 5
